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 8                  United States District Court
 9                  Central District of California
10                       Western Division
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12    VERONICA MATHIAS,                                CV 19-10209 TJH (PLAx)
13                      Plaintiff,
14          v.
                                                                  Order
15    REDONDO BEACH PROPERTIES, INC.,
                                                                 [19]
16                      Defendant.
17

18         The Court has considered Plaintiff Veronica Mathias’s motion for default
19   judgment, together with the moving papers.
20         On December 2, 2019, Mathias filed this action against Defendant Redondo
21   Beach Properties, Inc. [“Redondo Beach Properties”], alleging claims under the
22   Americans with Disabilities Act, 40 U.S.C. §§ 1201, et seq. [“ADA”], and the Unruh
23   Civil Rights Act, Cal. Civ. Code § 51, et seq. [“Unruh”].
24         The following facts are as alleged in complaint. Mathias, an individual who
25   relies on a mobility device, attempted to patronize the Redondo School of Dance and
26   Music [“the School”], a facility open to the public operated by Redondo Beach
27   Properties. Mathias was deterred from patronizing the School because, although
28   Redondo Beach Properties reserved parking spaces for its patrons, Redondo Beach

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 1   Properties failed to provide ADA complaint parking spaces.                Redondo Beach
 2   Properties, also, has a built-up curb ramp that projects from the sidewalk and into the
 3   disabled parking. These barriers were readily removable to accommodate individuals
 4   with disabilities.
 5         On October 2, 2020, because Redondo Beach Properties failed to file an answer,
 6   the Clerk of Court entered its default.
 7         Mathias, now, moves for default judgment.
 8         When considering a motion for default judgment, the Court must consider the
 9   following factors: (1) The possibility of prejudice to Mathias; (2) The merits of
10   Mathias’s substantive claims; (3) The sufficiency of the complaint; (4) The sum of
11   money at stake in the action; (5) The possibility of a dispute concerning material facts;
12   (6) Whether the default was due to excusable neglect; and (7) A strong policy of
13   favoring a decisions on the merits. See Eitel v. McCool, 782 F.2d 1470, 1471-1472
14   (9th Cir. 1986).
15         With regard to the second and third Eitel factors, default judgment is appropriate
16   only if Mathias can establish a prima facie case for her claims. See Danning v. Lavine,
17   572 F.2d 1386, 1388 (9th Cir. 1978). The Court must accept as true the factual
18   allegations in the complaint as they relate to liability.        TeleVideo Sys., Inc. v.
19   Heidenthal, 826 F.2d 915, 917-18 (9th Cir. 1987). However, the Court need not
20   accept as true those allegations that are not well-pled or are conclusions of law. See
21   DIRECTV, Inc. v. Hoa Huynh, 503 F.3d 847, 854 (9th Cir. 2007). If facts necessary
22   to establish a legally sufficient claim are not alleged in the complaint, the plaintiff must
23   provide evidence to support each element of each unestablished claim before the Court
24   may grant default judgment as to that claim. See Cripps v. Life Ins. Co. Of North
25   America, 980 F.2d 1261, 1267 (9th Cir. 1992).
26         Here, the unverified complaint is vague and conclusory, and fails to allege well-
27   pled facts as to the alleged ADA violations. See DIRECTV, 503 F.3d at 854. The
28   complaint lacks a factual basis as to how the ADA was, allegedly, violated. For

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 1   example, Mathias merely concludes that Redondo Beach Properties failed to provide
 2   ADA compliant parking spots without explaining why the parking spots were non-
 3   compliant.   Accordingly, the Court cannot accept the allegations as true.           See
 4   DIRECTV, 503 F.3d at 854.
 5         Further, in a declaration filed in support of her motion, Mathias stated that
 6   “currently, there are compliant designated disabled parking spaces serving” the School.
 7   The allegations in Mathias’s complaint are contradicted by her declaration.
 8         Consequently, Mathias failed to establish a prima facie case for her claims and,
 9   therefore, failed to establish that default judgment is appropriate, here. See generally,
10   Danning, 572 F.2d at 1388.
11         Accordingly,
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13         It is Ordered that the motion for default judgment be, and hereby is, Denied.
14

15   Date: April 14, 2021
16                                              __________________________________
17                                                     Terry J. Hatter, Jr.
18
                                                Senior United States District Judge

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